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             Exhibit B
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      FLORIDA PREPAID COLLEGE PIAM




    A PubHeatio, Of Th.FLORIDA PREPAID COLLEGE BOARD
    SUMMER ISSUE
                                                                                                                                      AUGUST 2006




   flORIDA PREPAID COLLEGE PUn
     With the Rorida Prepaid Colege
   Plan, the once Inevftable sticker-                                                                          Prepaid Coltege Ptan, the College
   shock that comes with sending a                                                                             Investment Plan may be used to pay
   child to college has been trans                                                                             for other fees, deluding books,food,
   formed to a sigh of relief, A relief                                                                       off-campus housing, and other
   that many of you are experiencing                                                                          educatbnal-iiBbted expenses not
   for the fbt time, offer signing up for                                                                     covered by the Prepaid College
   the plan during the 2005/2006 open                                                                         Ptah, The College Investment Plan-
  enrollment period and joining the                                                                           which covers oil qualified college
  close to 739,000 Rorida families                                                                            expenses,including tuittan - may
   already enrolled In the program.                                                                           also be used as a stand-alone
     This open enrollment'period Is                                                                           colege savings optfon.
   especlaly significant, boosting                                                                              The plan may be used at any
■ nearly 88,000 contracts purchased                                                                           pubfc or private accredited uhiver-
  (hcluding fuitbn, dormitory and                                                                             slfy, community college or technical
  local fee plans), making It the             K                                                              school anywhere In Ihe country, and
  second highest enroSmenf year              i:                                                               even at some schools abroad.
  shce the program's hceptlbn In                                                                                Enrolment fn Ihe pbn Is avaibble
  1988,
                                                   public university or community college, cr
                                                                                           or                year-round for as ffttle as $25 per
                                                   the value of the plans may be transferred           month through automatic withdrawals from
   The Prepaid College Plan offers three           to most private colleges In Rorida,select
 types of prepaid plans that allow you to                                                             a checking or savings account,or a lump
 save for future college expenses. By              technical schools and most out-of-state            sum payment of$250. After the ihifial
 enrolling h the Prepaid tuition plan, you         colleges. Ptan prices vary based on the            contribution of $250, you decide how
 hove akeady bcked In the future cost of
                                                   type of plan and the age of the child.             much and how often to contribute to your
 college tuition. If you haven't already done      Once enrolled, the plan payments are               account.
                                                   fixed and never increase.                            With the College Investment Plan saving
 so, you may also bck In Ihe futue costs of
 local fees and dormitory housing by                 You moysfen up for ihe Prepaid College Plan at   for college Is simple. You don't need to be
                                                  any Ime;however, applcaSons accepted outside        a Rorida resident to enroll In Ihe pbn,
 adding a Prepaid local fee plan ond
                                                  the open enrolment  periodeach
                                                                             w!be  suUect  to the
 Prepaid dormtfory plan to your account.          new^     prices approved       fa». The next open   providing grandparents with a great way
  Like the Prepaid tuition plan, what you         enroltnentperiod wB commence In October2006,        to save for college for their out-of-state
pay now for the local fee plan and the            FLORIDA COLLEGE INVESTMENT FLAN                     grandchildren. However, the Colege
                              guaranfeed by         Florida farrtlies have a seCOTd cotege-           Investment Pbn does not guarantee future
                                                                                                      tuition prices and bears some financial risk
!nw 5 ^                         ^                                               College
                                                  Investment Plan offers a range of Invest
                                                                                                      through invesimenis.
  When your child is ready for college, the                                                             To learn rriore about either pbn, please
                                                  ment options and flexibllify, allowingVouto         call 1-8CX)-S52-GRAD (4723) or visit our
Prepaid tuition, local fee and dormitory’         save for college at your own pace.
plans cover the actual cost at any Ftorlda                                                            Web site at wvAv.florida529plan5.com,
                                                                                                      Happy savingl




                                                                                    SNYDER CORPORATE REP.25
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                                          Chairman Ted Hoepner                                                               vr.                                      :.i^
                                                                                                                                                        ii'.
                                As Cha&man of the                                                                        /
                              n,Florida r,Prepaid Cotege
                                                    .         process, the program
                                                              online applications v^rithsaw
                                                                                          75 an Mux Of
                                                                                             percent of all
                                                                                                                     5
                                                                                                                                       i
       Or              •sSl                                                                                                                                    ■' -’Si
                              Board, I would like to          contracts being purchased online through           I
                                                                                                                                                                                                       f

                              wefcome the mae                 our secure Website,                                                             niK BO MID
                              than 53,000 Florida               I'm pleased to announce that the                                                                             Imr.
     p
                              famines who locked In          2004/2005 Rorida Prepaid College Board
                              the future cost of             Annual Report Is now avallabla, and shows                                                       Sffis;
                                                                                                                                                             m!-
                              college tuition by             further evidence of the prograrns' growth               ■pdantL<i0ft{(pttoer,3f.,.                              nssB,
                              enrolling in the Prepaid       and success, Through the conobkied efforts                                                                       si*;®,


      oon.:;>>on/           Collegeperiod,
      2005/2006 open enrolment      PIqn during the
                                           and the           of theonBoard
                                                             Insist        and ofenthused
                                                                      boasting     the greatcustomers who
                                                                                              news about                                                                              Bi

      ever-growing number of new participants                the program, we have assisted famlles In
      In the Rorida Cotege Investment Pbn,                   every county In the state save for fufwe                                                                         m                    I

         Savfng for college Is undoubtedly one of            college expenses. You can learn more                                                                                     i            !



     the most Importantdeclslons a parent can                about the program and Its progress m the
     make for theirchid's future. And, the                   2004/2005 Annual Report.
     Prepaid College Plan and College                          In recognition of Stanley Tate's service as                              7*

     Investment Plan are two great ways to                   Chairman of Ihe Prepaid Cotege Board                                  S
     ensure that the money Is there when the                during the program's first 18 years.                               Kiartt B teniiere Ph.D                           ,.   r.


     chW Is ready for college.
                                                            Governor Jeb Bush signed House Bill 263
                                                                                                                                ' . iBnardof^vStnciis
       The Prepaid College Plan has ^own                                                                                      Stale University Systtni.bf Rdrtiv ,                    ^
                                                            hfo law on June 26,2006, Which renames
     since its Inception, with more than 1,1                Ihe program the Stanley G. Tate Rorida                                 . Eijq B;,SJ^5CiDm                                /£
     mllion
      _ . , contracts sold and close to 800,000             Prepaid College Program. The Bead Is                                                                                :>

     ellgble children enroted 6i the plan today,            grateful for Mr. Tate's commitment and                                                                              V/--

     In Its T S" yean Ihe Prepaid College Plan              leadership throughout the years,                                                  If
                                                                                                                                                                               ‘VS
                                                                                                                                                   tl
     experienced Its second strongest open                     As we move forward, the Florida Prepaid                                                  Ji                       lt
     enrollment period with nearly 88,000 told              College Board's mission clearly defines the                                      CONTACT US
    contracts sold, Includhg tuifton, local foe             Board's dedfcation to helping families save
      Tne College Investment Plan abo
                                       ,                    for coUege. As you take part In the
                                                           program, by purchasing a contract os well
    continues to grow, with more than 21,000               as by spreading the word to Wends and
    famlfes enrolled today and with assets fn              family, you too are ensuring that our mission
    excess of $93,7 mion. The plan's many                  Is being fulfified. The full text of the missbn
    benefits and liexlblly, make It a viable and           storfement can be found below
    appealing option for many Ftorfda famies.                Whte the programs continue to grow
      At the Rorida Prepaid Colege Board we                the real success lies v4th the families who
    do our best to ensure that saving for                  are ushg the plans to provide an Invalu
    college Is a convenient and easy process.              able opportunity for their children to attain
    We ore proud to offer concise, eosy-to-                a higher educatbn.                                                                                                                  ?

    understond Informatton both on print and                 Again, we extend a warm welcome to
    through our Web site at                                the new families who have enroled. We                                                             ment of
    www,floridaS29p(ans.com, The Board
                                   „ has             , every
                                                       look forward  to serving you and your family
    made it a pnorily to meet the challenges of               step of the way on yourlournev to               ^ -Heaifljibi:                                     pubTic                    i
    the Wormoffan Age and I am proud of the                success.
    strides we have made. In 2005/2006, our                                                                   ■ aworetiesscamf
    third year offering an online application
                                                                                                                  pareni                                         Tceof
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       Florida Prepaid Colle^^e Boai'fl rUi,s.sioH Siatoment                                                                        .-•V i


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                                                                                            SNYDER CORPORATE REP. 26
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                         If there was ever a             made It a requirement that Faith Is to never    from the lime Faith was bom,a decision
                       child who knows the               remove the frame, hopes that the certifi        she Is proud to have made. Even though
                       Importance of a                   cate will serve as a reminder of her dreams



 I                     college education It Is
                                                                                                         the College Investment Pbn does not
                                                         for her daughter to attain a college            requke a set monthly payment,Trtna has
                       Fdith Retctier. Even ot           education,She says,"She Is only three now
                                                                                                _        chosen to have monthly contributions
              .f-      the tender age of                 and whatever other pictures/ posters she
                       Ihree, Faith Is                                                                   automatically deducted from her bank
                                                         decides to hang on her wall when she Is         account. Not only hove the automatic
                    A
   ih»
   the rioih
       path fho*
             thot   yrsdpuhtedV lead to her              always°remains for herwillInvestment
                                                                                    be that a space      contributions saved her the trouble of
   college                                               Cettilicale."                                   hgi^Jp remember her monthly
                                                                                                                                    hertlme and
  ojh^imem^Qf                                                            hvesfment,dptldra.'M-^'.':^
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   After being diagnosed as chronlcajy ill         explains, as she reflects on her ongoing
 and suffering numerous life threatening                                                                doesn't fully understand what It means to
                                                   Illness, "but I've made a promise to myself          hove a colege education, parents
 complications and hospital stays, Bonnie          that Brfana will have every opportunity to
 Miele and her husband Benjamin had                                                                     Benjamin and Bonnie both know and feel
                                                   go to college."                                      conRdent that with the Prepaid College
 dismissed the hope of ever having a child.              Now at 3Ji years old and after countless
 That.was                                                                                               Plan, Ihe dreams oftheir "Miracle Child"
        ,unlfl September
                „       , 11,
                           ^ 2001. WhOe            vlslls to the doctor with her mother, Briana         can come true.
 much of our nation was In despair from the        talks  ecstaticaJy about one day becoming
 attacks on the World Trade Center, Bonnie ' an "Angel Doctor"so that she can make
 received a ray'of hope amidst the chaos           her mommy all better,
 of the day's events and the adversity she
 had experienced In her tfe, as doctors
                                                         Though the Miele famiiy has faced many
                                                   trials and obstacles In thek 5ves, Bonnie
                                                                                                                                                      I
 Informerd her that she was pregmanl.             often finds on immeasurable joy In knowing
  From the moment Brfana was born, Ihe            that Brtana's education b taken care of
 Miele family knew they wanted to give IheIr She says,"Every time I write that [Prepaid
daughter one of the best gifts they could         College Plan] check I have a sense of
offet a Rorida Prepaid Colege Plan."I             security, happiness and assurance for
don't know what my fate Is h life," Bonnie        Brfana's future." And, while Bftle Briana



                                                 Good news tor plan participanfsl The
                                                 maximum account limit for the sum total of
                                                 Ihe Prepaid Colbge Plan and the College
                                                 Investment Plan has been Increased from
                                                 $287,000 to $341,000 per beneficiary
                                                 (student), Once the total value of all
                                                 accounts for the same beneficiary reaches
                                                 $341,000, you cannot make any new
                                               contributions to your Investment Plan
                                               account, but the market value of the
                                               account may continue to grow.
                                               Contributions made In excess ot the
                                                                                                                                   ISWJBSIsW.fif'.C
                                               maximum accourit Smit will be returned to                                              fiV.JXcps'A
                                               the account owner.



                                                                                     SNYDER CORPORATE REP.27
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                   Wh ST TO ExteiT Ah a Ness'                   In Ihe 2006-2007 Appropriaibns
            r f>, !‘S!L>   !t,E Plw PaRSK !R-V?iT            Act, the Rorlda Legislafure
                                                                                                                     He^ us spread the wordi Tel your
                                                                                                                  i Mends and family how saving for
                                                             approved a 3% bcrease in univer                     ^ college through «ie Prepaid College
                                                             sity tuition and o 2.5% increase in
                                                             community college tuition.
                                                                                                                 ^ Plan ensures that you never have to
                                                             Having a Prepaid College Plan
                                                                                                                 ^ worry about tuHbn increases.
                                                             ensures that you are not
                                                                                                                |B       Also,the Florida Prepoid College
                                                                                                                 m Foundotion'sStanley Tate Project
                                                             atfected by tuition hcreases.                       W STARS scholarsh|o program, has
                                                             Now that's something to smJe                           been funded $7.9 rnlon In the 2006-
                                          dcwhlGh           about.                                                2007 Rorida Appropriations Act.


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                                                           Members
                                                         resentotives and the U,S. Senate are
                             ii^j
                                                         worWng to make permanent the College
                                       ,_„e your         Invest in Educaibn Savings for Tomorrow
                                       he'^cid           (InvEST) Act of 2005. If made Into low, those
                                                         Investing In stole-sponsored 529 college
                                       I pctyroll        savings plans can continue to enjoy tox-
                               ta.'                      fr®® freatment on qualified withdrawals. As
                                            be           It currently stands, these benefits are set to
                                       Jybhecks.         "sunset" or expke on Decembers), 2010.
                           dCofefS^fdb                    As of June 19,2006,7] Senators and 127                                                            5
                           ig^yn^ fSfbblfege            members of the House of Representatives               the work Is not over yet, Please contact
                         „ anf Just      you we
                      TghffaiurefofyotjrWds,            » wfm                                                          Congressbnal representatives
                          brie 6f Ihe rrrost                        Wn          Prepaid College             who have not yet signed on to the bll and
/l^lliWqysTbai               %,thSb.lhrdugha                               I        °                                            P'°™ tax-free by
' bW^b edtrcqlloj,,.                                    tLfhe bll Ihus far,
                                                                       Legislators who have supported 2005.
                                                                            especially our Florida
                                                                                                      supporthg   the Colege S29 InvEST Act of
                                                                                                            For a complete list of Florida's
; .To %Cm,fiJ9{|;ob'out the. payment                    Representatives Mark Foley, Ileana Ros-
 , 0                                                                                                      Congressbnal representatives or to send
                                                        Lehtlnen, Jeff Mller, Dave Weldon, Mario          an e-mall message, please visif
'■                            Web sHb of                Dbz-Botart, Katherine Harris, and Senators
     ■Wyw.,llbte5^|^;e(pr«:                             Mel Martinez and Bll Nelson.
                                                                                                          WWW, Rof1da529ptans.com and clfck
                                                                                                          "Contact Your Leglslqfoa ."



                                                                                           SNYDER CORPORATE REP. 28
